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                             U NITED STATES DISTRICT CO UR T
                             SO UTH ER N DISTRICT OF FLO R IDA

                               CaseNo. qr # 3f t#
                                                1
   UNITED STATES O F A M ER ICA


   JOH N JAM ES PETERSO N
   and
   BRUNELLA ZUPPO NE,

                    D efendants.             /


                                   CRIM INA L C O VER SHEET
   1. D id this m atter originate from a m atterpending in the CentralRegion of the United State
      Attorney'sOffice priorto A ugust9                                                         s
                                           , 2013(M ag.JudgeAliciaValle)?            Yes V No
      D id this m atteroriginate from a m atterpending in the Northern Region ofthe United States
      A ttorney's Office priorto August8, 2014(Mag.JudgeShaniekM aynard)?            Yes V No


                                                 Respectfully subm itted,

                                                 A RG N A FAJARD O ORSHA N
                                                 UN ITED STATES TTO      Y
                                                              C

                                      BY :
                                                 Ric rdo A .D elT
                                                 A SSISTAN T UN ITED STA TES A TTO RNEY
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                                                 Email:    Ricardo.Del.Toro@ usdoj.gov
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A0 91(Rev.08/09) CriminalComplai
                               nt

                               U NITED STATES D ISTRICT C OURT
                                                         forthe
                                              Southern DistrictofFlorida

               United StatesofAmerica

                                                                 CaseNo.
              JOHN JAM ES PETERSO N
                        and
               BRUNELLA ZUPPO NE,
                     Defendantls)

                                               CRIM INAL CO M PLAINT

        1,the complainantin thiscase,statethatthefollowing istrueto the bestofmy knowledge and belief.
Onoraboutthedatets)of  Feb2016-Oct.25,2018      inthecountyof Miami
                                                                  -Dade & Broward                             inthe
   Southern Districtof     Florida      ,thedefendantts)violated:
          CodeSection                                              OffenseDescri
                                                                               ption
18U.S.C.j 371;                            Conspiracyto CommitOffenseAgainsttheUnitedStates'
                                                                                          ,and
22U.S.C.j2778(c)                          Attemptto Illegal
                                                          yExportDefenseAdiclesWithoutaLicense.




      Thiscriminalcomplaintisbased on thesefacts:
SEE ATTACHED AFFIDAVIT.




        W Continuedontheattachedsheet.


                                                                                 Complainant'
                                                                                            ssignature

                                                                           SpecialAqentM iquelA.Vilches,HSI
                                                                                  Printednam eand title

Sworn to beforeme and signed in my presence.


oate: k'/x /,
            aoI..
                )                                                                   Judge'
                                                                                         ssignature

City and state'
              .                     Miami,Florida                   Honorable Lisette M.Reid,U.S.Maqistrate Judge
                                                                                  Printednameand title
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                   AFFIDAVIT IN SUPPORT O F CRIM INAL COM PLAINT

         1,M iguelA.Vilches,SpecialAgentofHomeland Security Investigations(1ûHS1''), being
  duly sw orn,hereby state asfollow s:

                                         IN TR O D U CTIO N

         1.      lhavebeen aSpecialAgentwith HSlforoversixteen (16)yearsand during my
  careerlhaveparticipated in,and directed numerouscrim inalinvestigationsinvolving theillegal

  exportation ofmilitary and defense articlesfrom the United States. 1have also received form al

  training and haveextensiveon-the-job experience in lawsand regulationsrelating to weapons
  sm uggling and in the internationaltrafficking of defense articles. Asa resultofmy training and

 experience,1havespecificknowledgeofthe meansand m ethodsusedby weaponstraffickersand

 weapons-trafticking organizations (hereinafter û(W TO'') to communicate with each other, to
 purchase,transport, store and distribute w eapons, and to conceal profits generated from those

 transactions.

        2.       1 know , through training and experience, that:(a) it is common for weapon

 traffickerstoutilizenum erousconcealm entm ethodswithinvariousshipm entchannelsto transport

 weapons,munitions,andproceedsfortheexport, sale,and distribution ofweaponsand munitions;

 (b)itisconunon forweapon traffickersto concealweapons and munitionswithin freightand
 utilizeshipmentconsolidators,freightforwards, andcommercialcarriers(land,seaandairl;(c)it

 iscomm on forweaponstraffickersto concealand comingleweaponsand m unitionswithin other

 shipm ents to avoid custom s and canier shipm ent inspections in order to export weapons and

 m unitions,in violation of 18 U .S.C.j554,smugglinggoodsfrom theUnited States;13U.S.
                                                                                    C.j
 305,failure to file a Shippers ExportDeclaration'
                                                 , 22 U.
                                                       S.C.j2778,illegalexportofdefense
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  articleswithoutalicense;18U .S.C.j1343,wirefraud;and18U.S.
                                                           C.j371,conspiracytocommit
  offenseorto defraud United States .




                The facts alleged in this affidavit are based on m y personal knowledge and

  observations,m y training and experience, and infonnation obtained from otherlaw enforcem ent

  officers. Thisaffidavitdoesnotinclude every factknown to me concerning thisinvestigation. l

  haveincluded only those factsand circum stancesthatIbelievearesufficientto establish probable

  cause to establish that Brtmella ZUPPONE (ILZUPPONE'') and John James PETERSON
  (EûPETERSON'')committed the offensesofconspiracy and attemptto illegally exportfrom the
 United Statesto Argentina defense articles, namely,hundreds ofparts forAR-15 assaultrifles
                                                                                               ,

 w ithouta license,in violation of 18 U .S.C.j371and 22U.S.C.j2778((1.

                                   R ELEV AN T STAT UTES

        4.      The Anns Export Control Act CSAECA'') and its attendant regulations, the
 InternationalTrafficin ArmsRegulations(ûC1TAR'')(22 C.F.R.jj120-130), require a person to
 apply forandobtain an exportlicensefrom theDepartm entofState, D irectorate ofD efense Trade

 Controls(:LDDTC''),beforeexportingarms,ammunition,orarticlesofwar, whichareal1classified
 asdefensearticles,from theUnited States(22U.S.C.jj 2778(b)(2)and2794(3), and 22 C .F.R.
 j 120.1). Itisacrimeforanyoneto willfully violateany provision of22 U S.C.j2778 orany
                                                                            .



 nlle orregulation issued under thatsection. See22 U.S.
                                                      C.j2778(c).Specifically,itisacrime
 forany exporterwillfully to failto obtain an exportlicense before exporting adefense article to

 anothercountry. See 22 U .S.C . j2778(c)and 22C.
                                                F.R.j 127.1(a)(1).PursuanttotheITAR,it
 is a violation for a person to conspire to exportor to cause to be exported any defense article

 withouta license. See 22 C.F.R.j 127.1. Itisalso unlawfulforany person to S
                                                                           tknowingly or
 willfully attem pt, solicit,cause, or aid,abet,counsel,dem and,induce, proctlre, or pennit the
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  commission ofanyactprohibited by22U.S.C.j2778,55oranyregulationissuedthereunder.22
  C.F.R.j127.1(e).
                In the application foran exportlicense,an exporterisrequired to state,am ong other

  things,the nature ofthe defense article to be exported,the end recipientofthe defense article,and

  the purpose for w hich the defense article is intended. The D D TC considers these factors in

  detennining w hetherthe exportofthe defense article w ould furtherthe security and foreign policy

  interests ofthe U nited States,orw ould otherwise affectw orld peace.

                The D epartm ent of State,w ith the concurrence of the D epartm ent of D efense,

  designatesarticlesasûtdefensearticles''ontheUnitedStatesM unitionsListCSUSM L'') which are
  subjectto these licensing requirements. See 22 C.F.R.j 120.6. No defense article could be
  exported orotherwise transferred from the United Statesto a foreign country w ithoutpriorlicense

  orwrittenapprovalfrom DDTC. 22 C.F.R.jj 123.1(a),127.1(a)(1). TheITAR alsoprohibited
  re-exports,transfers,transshipm ents,and diversionsfrom foreign countries ofpreviously exported

  defensearticleswithoutUnitedStatesDepartmentofStateauthorization.22C.F.R.j 123.9(a).
                Title 18,United StatesCode,Section 371provides,in relevantpart:Gdrijftwo or
  m ore persons conspire either to com m itany offense againstthe U nited States,or to defraud the

  U nited States,or any agency thereofin any m anner orfor any purpose,and one or m ore of such

  personsdo any actto effectthe objectofthe conspiracy,each shallbe fined underthistitle or
  im prisoned notm ore than five years,orboth.''

                                      PR O BA BLE CA U SE

          8.    On oraboutOctober8,2018,two (2)U.S.Postalshipmentsbearing billoflading
  numbersC11051622239175and C11051621953U5CtSHIPMENTS'')weredropped offattheU.S.
  PostalService(USPS)ofticein Bradenton,Florida. The SHIPMENTS wereprocessed through
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  theU nited StatesPostalService as Priority M ail. On October9,2018,United StatesCustom sand

  BorderProtection(CBP)OfficerslocatedatM iamiForeignM ailFacilityplacedtheSHIPM ENTS
  on hold forinspection. On oraboutOctober l1, 2018,upon delivery ofthe SHIPM ENTS for

  exportoutofthe M iam i,Florida,to BuenosA ires, Argentina,CBP perfonned an outbound border

  search ofthe SHIPM ENTS.

                During the outbound border search, CBP officers discovered identicalcontents in

  each ofthe tw o SH IPM EN TS. Thefollowing itemswerein each SHIPM ENT;fifteen (15)AR-

  15 Bolt Canier Groups;ten (10) AR-15 Upper Receivers;twenty (20) AR-15 80% Lower
 Receivers;twenty (20)AR-15 GasTubes;ten (10)AR-15 PistolGrips;ten (10)AR-15Trigger
 Kits;ten (10)AR-15Forward Assist;and five(5)AR-15 Barrels These assaultrifle parts are
                                                                   .



 regulated underITAR and listed asdefense articles in Category Iofthe USM L, thus requiring a

 Departm entofState,DDTC,licenseforexport.

         10. Infonnation obtained from the bill of lading/usps Custom s Declaration and

 Dispatch N otice located on the t'SH IPM EN TS,''listedthesender(SHIPPER)asGtMichaelNtmes'
                                                                                          '
 withan addressinBradenton,Florida.Thesesamedocumentslistedthe(CONSIGNEE/personto
 receive the SHIPM ENT) as ûdAlanis Sergio P,''later identified as Sergio Pablo ALANIS
 (hereinafterEIALANIS'')with an addressin Campana,BuenosAiresProvince, A rgentina.The
 description ofthe SH IPM EN TS w aslisted as ççsecond H and SportGoods''asgifts;w ith a quantity

 ofç110'';weighingat43lbs.;and avalue ofçû$46 00.''TheU.S.PostalServicecollected feesin the
                                                .



 nmountof$189.40 foreach forexportoutoftheU.S to A rgentina.
                                                    .




               The State D epartm ent'sD D TC hasconfirm ed thatthe A R-15 assaultrifleparts are

 regulated by the ITAR,and listed undertheUSM L, Category 1. Therefore,the AR-15 ritle parts

 require a DD TC license forexport. The State D epartm enthas contirm ed thatneither ZU PPON E
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  norPETERSON obtained aDDTC exportlicensefortheAR-15 assaultritleparts. N ordid N unes

  orALAN IS do so.

                Video surveillance from the U .S.PostOfficelocated in Bradenton, Florida,atthe

  tim eofthedelivery ofthe SHIPM ENTS revealed thatZUPPONE and PETERSON deliveredthe

  SH IPM EN TS on October8, 2018. ZU PPO NE paid forthe shipm entfeesin cash.

                Furthennore,research through governm ent databases revealed over 45 previous

  shipm entsrelated to ZU PPON E and PETER SON dating back to in oraround Febnlary 2016. The

 previous shipm ents from the U .S.also listed Roman RAGUSA CI
                                                             RAGUSA'') and ALANIS
 am ongstothers,asconsigneesin Argentina. Thepreviousshipm entsweredescribedas:autoparts,

 bicycle spare parts,optic scopes, and antiquerevolver,am ong others. ln multiplepriorshipm ents,

 ZUPPONE'Scellulartelephonenum berwasusedasthecontactnumberfortheindividualshipping

 the goods.

         l4. Further research revealed that PETERSON is manied to ZUPPONE. They

 currentlyresideinBradenton,Florida. They previously resided in Pom pano Beach, Florida,which

 hasbeen usedmultipletim esforexportstoArgentina. The firstsuch exporttook place in Febnzary

 2016.

               Between October and November 2018, HSI coordinated with Argentine 1aw

 enforcementand judicialofficialsan internationalcontrolled delivery ($çICD'') ofone ofthe
 SHIPM EN TS containing theAR-15 assaultriflepartsfrom the United Statesto Argentina. The

 internationalcontrolled delivery resulted in the seizure of approxim ately 189 long arms, 156

 handguns, one m ortar rotm d, one hand grenade, over 30,000 rounds of assorted caliber

 ammunition,fivevehicles,$110,000 US andthe arrestofRAGUSA and otherArgentinecitizens
 forviolationsofforeign law concerning w eapons sm uggling.
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                    On oraboutOctober25,2018,ZUPPONE and PETERSON once again delivered

  two (2) packages through U.S.M ail (C11052624908U5, C11052624616U5) said to contain
  tdsecond Hand Sporting Goods''from ûtvincentBerry''located in Bradenton, Florida,addressed to

  Sergio P.ALANIS atthe sam e address as the shipm entto RAGU SA in Cam pana, Argentina.

  V ideo footage captured ZUPO N NE and PETERSON dropping off and paying for shipping costs

  for shipm ents.

                On oraboutOctober25,2018, agentsseized thefollowing export-controlled items

  from theshipments:forty (40)AR-15 TriggerKitswith PistolGrips;SfIy(50)AR-15 M tlzzle
                                                                           .



  Brakes;six (6) AR-15 Barrels;twenty (20) AR-15 Bolt Caniers;seventy-two (72) AR-15
 M agazines;twenty(20)AR-15ForwardAssists;one(1)AR-15ChazgingHandle;two(2)AR-15
 CarbineChargingPlates;one(1)AR-15FrontGrip;one(1)AR-15RearSightAperture;two (2)
 AR-15ButtPlates;nineteen(19)AR-15EjectionPortCovers;fifteen (15)AR-15GasTubes              .



          18. lnvestigation revealed thaton October 18, 2018,United Parcel Service delivered

 tw o shipm ents from a fireanns supplier in FortW orth, Texas,to ZU PPON E ather residence in

 Bradenton,Florida,containingonehundred(100)AR-15ammunitionmagazines A dm inistrative
                                                                                .



 subpoenaretum sfrom thefirearmssupplierproducedtwoinvoicesdated October15, 2018,which

 statedthatZUPONNE wastherecipientoftheone-hundred(100)AR-15magazinesthathadbeen
 shippedto herresidencein Bradenton. The October25,2018 seizure oftw o shipm entscontained

 intotalseventy-two(72)AR-15magazines.
         19. Based on the foregoing, HS1 obtained a search warrant of ZUPPON E'S and

 PETERSON 'Sresidence located in Bradenton, Florida. O n N ovem ber8,2018, H S1executed the

 search warrantofZUPPONE'Salld PETERSON 'Sresidence and a subsequentconsentsearch of

 an off-site storage unit. The search resulted in the seizure ofapproxim ately 1,500 A R-15/M -4
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  assaultrifle parts and 21 boxes ofam munition. In addition,over a dozen digitalm edia item s

  (including cellphones,laptop computers,removable and otherhard drives) were imaged for
  further analysis. Financial m aterial and other docum ents were recovered for additional

  investigation. H SI estim ates the am ount and types of A R-15/M 4 assault rifle parts seized
                                                                    -




  combined would completeapproximately 52 fully f'unctioning assaultrifles.

                Following the searchesoftheresidence and storage unit, H SI agents conducted a

  voluntary interview ofZUPPONE and PETERSON , both ofwhom waived theirM irandarightsin

 writing and agreed to speak to HS1SpecialAgents withoutan attorney. During the intenriew,

 ZUPPONE and PETERSON adm itted thatthey shipped from the United States to A rgentina

 withouta licensehtmdredsofAR-15 assaultrifle partsand thatthey provided false inform ation

 including shipper's nam esto concealtheirinvolvem entin the illegalshipm ents.

               Furthennore,ZUPPON E and PETERSON adm itted thatthe AR- 15/M 4 w eapon

 parts found during the search w ere going to be sm uggled to A rgentina through the U .S.Postal

 Service. ZUPPONE and PETERSON
                      t
                               also acknowledged thatthey had received paym entfor

 services to and from co-conspirators through w ire transfers, creditcard payments and transfers

 through money servicebusinessesfortheirrolein theconspiracy.

               Based upon the foregoing,probable cause existsto believe thatZUPPONE and

 PETERSON didknowingly andwillfully conspireand attem pted to exportfrom theUnited States

 to A rgentina,w ithouta license defense articles, namely,hundredsofAR-15 assaultritleparts in
                                                                                            ,

 violation of 18U .S.C. j371and22U.S.C.j2778/).
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   FURTH ER A FFIA N T SA YETH N A U GH T .




                                                  M igue . ilches,SpecialA gent
                                                  Hom eland Security lnvestigations
   Sworn and subscribed to m e this26th day
   ofJune 2019.


                         *K



  HON.LISETTE M.REIIj
  UN ITED STA TES M A G ISTM TE JU D GE




                                              8
